UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                12/5/2022
                                                                       :
 HEXIN GLOBAL LIMITED, a British Virgin Islands                        :
 Corporation, and VINER TOTAL INVESTMENTS                              :
 FUND, a Cayman Island Corporation,                                    :
                                                                       :      22-cv-08160 (LJL)
                                    Plaintiffs,                        :
                                                                       :     NOTICE OF INITIAL
                  -v-                                                  :   PRETRIAL CONFERENCE
                                                                       :
 SINGULARITY FUTURE TECHNOLOGY LTD.                                    :
 ET AL,                                                                :
                                    Defendants.                        :
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LEWIS J. LIMAN, United States District Judge:

        This case has been assigned to me for all purposes. It is hereby:

       ORDERED that all parties appear for an Initial Pretrial Conference by TELEPHONE on
January 5, 2023, at 4:00 p.m. Parties are directed to dial into the Court's teleconference number
at 888-251-2909, Access Code 2123101, and follow the necessary prompts.

        IT IS FURTHER ORDERED that, by one week prior to the conference, the parties jointly
submit to the Court a proposed Case Management Plan and Scheduling Order. A template is
available at https://www.nysd.uscourts.gov/hon-lewis-j-liman. This document should be filed
electronically on ECF, consistent with the Court’s Individual Practices in Civil Cases, which are
available on the same webpage. Parties should consult the Individual Practices for guidance on
the matters to be discussed at the Initial Pretrial Conference and for the Court’s rules with respect
to communications with Chambers and other procedural matters.

        The time period for any Defendant intending to move to dismiss pursuant to Federal Rule
of Civil Procedure Rule 12 will be extended until further order of the Court upon the filing of a
simple letter with the Court within the time permitted under Federal Rule of Civil Procedure
12(a) and prior to the time the above-mentioned submission is made. Such letter should simply
indicate in one sentence the Defendant’s intent to make a motion to dismiss.

        Counsel for Plaintiffs is ordered to notify all counsel of this Notice.


        SO ORDERED.

Dated: December 5, 2022                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
